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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA



 UNITED STATES OF AMERICA, et al.,

                        Plaintiffs,
                                                    Case No. 1:20-cv-03010-APM
 v.
                                                    HON. AMIT P. MEHTA
 GOOGLE LLC,

                        Defendant.


 STATE OF COLORADO, et al.,

                        Plaintiffs,

 v.                                                 Case No. 1:20-cv-03715-APM

 GOOGLE LLC,                                        HON. AMIT P. MEHTA

                        Defendant.



              MOTION OF ANTHROPIC PBC, ENGINE ADVOCACY,
           AND TECHNET FOR LEAVE TO FILE BRIEF AS AMICI CURIAE

       Pursuant to Local Civil Rule 7(o), Anthropic PBC, Engine Advocacy, and TechNet

respectfully move this Court for leave to file the attached brief as amici curiae. Amici contacted

Plaintiffs’ counsel regarding this motion but did not receive a response. Defendant Google LLC

has advised that it takes no position on this motion.

       Anthropic is a public benefit corporation dedicated to the responsible development of

advanced artificial intelligence (“AI”) systems for the long-term benefit of humanity. As one of

the leading frontier AI companies, Anthropic develops generative AI models, particularly large

language models, that are used across a range of applications, from enterprise software to

consumer products. Anthropic is the smallest and most independent of the frontier AI labs, and
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its competitive success has required talent, dedication, and collaboration with a variety of other

actors—including Google.

       Engine Advocacy (“Engine”) is a non-profit technology policy, research, and advocacy

organization dedicated to bridging the gap between startups and policymakers. Engine operates

independently of its funders, and its policy work is guided by ongoing conversations with

startups in the network. Engine works with government officials and a community of thousands

of high-technology, growth-oriented startups across the nation to support innovation and

entrepreneurship through research, policy analysis, and advocacy. Engine’s community of

startups includes companies developing and deploying AI across all industries and sectors. Many

have benefited directly and indirectly from Google’s participation in the AI ecosystem, including

by using Google AI tools, building on AI tools supported by Google investments, and

participating in Google’s accelerator programs.

       TechNet is a national, bipartisan network of technology CEOs and senior executives that

promotes the growth of the innovation economy by advocating a targeted policy agenda at the

federal and 50-state level. TechNet’s diverse membership includes 100 dynamic American

companies ranging from startups to the most iconic companies on the planet. Those companies

represent more than 5 million employees and countless customers in the fields of information

technology, AI, e-commerce, the sharing and gig economies, advanced energy, cybersecurity,

venture capital, and finance. TechNet’s members are at the forefront of developing new

technologies, including AI, and TechNet has unique expertise regarding the effects of public

policy on innovation and competition in the technology industry. While TechNet is a

membership-based association, its positions as amicus curiae represent only its own views and

not necessarily the views of any of its individual members.




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        Amici respectfully submit that they are well-suited to assist the Court in evaluating the

competitive implications of Plaintiffs’ proposed remedy and should be granted leave to file a

traditional amicus curiae brief. Anthropic is a significant actor in the emerging competitive

landscape that the Revised Proposed Final Judgment (“RPFJ”) threatens to reshape. It occupies a

distinctive position as the smallest and most independent of the leading frontier AI labs, and it

competes vigorously with much larger firms—including Google, Meta, and OpenAI—on the

basis of model performance, safety, and technical innovation. At the same time, Anthropic is one

of numerous startup AI firms whose growth has been meaningfully supported by strategic

investments from established companies, including Google.

        That dual role—as both a competitor and recipient of investment—gives Anthropic a

concrete, real-world perspective on how provisions like Sections IV.H and IV.I of the RPFJ

would operate in practice. Those provisions impose expansive notice requirements on Google’s

future investments in emerging AI companies like Anthropic and companies much smaller than

Anthropic. Anthropic can offer firsthand insight into how these requirements, which are far

afield from the antitrust violations the Court found in this case, would deter such investment,

disrupting the capital flows and strategic collaborations that are essential to innovation and

competition in the nascent AI space—not only for Anthropic, but for countless other AI startups.

As Anthropic is one of many AI companies that has benefited from Google’s investments in the

past and wishes to be able to do so in the future, its interests are directly implicated, and it is well

positioned to explain the broader implications of Plaintiffs’ proposed remedy.

        Anthropic has previously contributed meaningfully to the remedial dialogue in this case.

Plaintiffs’ original Proposed Final Judgment sought to compel Google to divest all its existing

investments in AI startups and to prohibit all future investments. After Anthropic explained that




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this divestment remedy would have severely harmed competition, see ECF Nos. 1165, 1182,

Plaintiffs withdrew the divestiture demand, acknowledging Anthropic’s point that the remedy

could have caused “unintended consequences in the evolving AI space,” ECF No. 1184 at 8. In

light of Plaintiffs’ change in position, this Court declined to grant Anthropic “evidentiary amicus

status” (i.e., it declined to permit Anthropic to submit affidavits from fact witnesses) but took

“no position on whether it [would] accept from Anthropic a traditional amicus brief.” ECF No.

1207 at 3.

       In addition to Anthropic’s industry-specific perspective, Engine Advocacy and TechNet

offer valuable insight into the broader startup and innovation ecosystems that would be affected

by the RPFJ’s notice requirements. Engine has expansive experience working with early-stage

companies across the technology sector, including on how they rely on strategic partnerships and

investments to scale and compete with incumbents. Its extensive engagement with startup

founders and investors provides it with an informed view of how notice requirements, like those

in Sections IV.H and IV.I, would introduce uncertainty and delay into funding decisions—

particularly for smaller firms that may lack the resources to navigate regulatory ambiguity or

withstand protracted negotiations.

       TechNet, drawing from the experience of its member companies and engagement with

policymakers across all 50 states, can contextualize the RPFJ’s provisions within the national

policy landscape. TechNet is uniquely positioned to articulate how intrusive notice provisions

may create regulatory friction that chills legitimate and procompetitive investment across a range

of industries—not only in AI, but in biotechnology, cybersecurity, and other sectors where

innovation depends on nimble capital deployment. Together, Engine and TechNet bring

institutional expertise that complements Anthropic’s real-world experience, providing the Court




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with a more complete understanding of how the proposed remedy may undermine innovation

and competition across the broader economy.

       Anthropic, Engine Advocacy, and TechNet now move for leave to file a traditional

amicus brief, which they respectfully submit will assist the Court in crafting an appropriate

remedy in this case.

Dated: May 9, 2025

                                                     Respectfully submitted,

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